Case 1:20-cr-00015-JPJ-PMS Document 29 Filed 07/16/20 Page1ofi Pageid#: 78

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF VIRGINIA

ABINGDON DIVISION

UNITED STATES OF AMERICA, )
)

Vv. ) Case No: 1:20cr00015
)
COLE CARINI )
Defendant. )

WAIVER OF SPEEDY TRIAL

I, Cole Carinia, hereby waive my rights under the Speedy Trial Act and expressly consent

to the trial of my case being set outside the 70-day time limit imposed under said Act.

Koh ARN th LIE

Cole Carini, Defendant

Che Stangerd

John T. Stanford, Counsel for Defendant

 

07/16/2020
Date

 
